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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

WEBROOT, INC. and OPEN TEXT, INC.,              §
                                                §
                   Plaintiffs                   §
                                                §
       v.                                       §       NO. 6:22-cv-239-ADA-DTG
                                                §
TREND MICRO INC.,                               §       JURY TRIAL DEMANDED
                                                §
                   Defendant.
                                                §
                                                §
TREND MICRO INC.,                               §
                                                §
                   Counter-Plaintiff            §
                                                §
       v.                                       §
                                                §
WEBROOT, INC. and OPEN TEXT, INC.,              §
                                                §
                   Counter-Defendants,          §
                                                §
       and                                      §
                                                §
OPEN TEXT CORP.
                                                §
                   Counter-Defendant.           §


      TREND MICRO INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND
  COUNTERCLAIMS TO PLAINTIFFS WEBROOT, INC. AND OPEN TEXT, INC.’S
             COMPLAINT FOR PATENT INFRINGEMENT

       Defendant Trend Micro Inc. (“Trend Micro”), by and through the undersigned attorneys

hereby respond to the Complaint for Patent Infringement (“Complaint”) filed March 4, 2022 by

Plaintiffs Webroot, Inc. (“Webroot”) and Open Text, Inc. (“Open Text, Inc.”), (collectively,

“Plaintiffs”). Trend Micro denies all allegations set forth in the Complaint unless expressly

admitted in the following paragraphs. In so doing, Trend Micro denies any allegations contained

in Plaintiffs’ headings.
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       Trend Micro’s specific responses to the numbered allegations of the Complaint are in the

below numbered paragraphs as follows:

        1.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 1, and therefore denies them.

        2.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 2, and therefore denies them.

        3.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 3, and therefore denies them.

        4.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 4, and therefore denies them.

        5.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 5, and therefore denies them.

        6.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 6, and therefore denies them.

        7.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 7, and therefore denies them.

        8.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 8, and therefore denies them.

        9.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 9, and therefore denies them.

        10.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 10, and therefore denies them.

        11.     Trend Micro lacks knowledge or information sufficient to form a belief as to the




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truth of the allegations of Paragraph 11, and therefore denies them.

       12.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 12, and therefore denies them.

       13.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 13, and therefore denies them.

       14.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 14, and therefore denies them.

       15.     Trend Micro admits that it provides Apex One, Smart Protection Network, Deep

Security, and Cloud One Workload Security. Trend Micro denies committing any acts of

infringement and denies that its products implement Plaintiffs’ patented technologies. Except

as expressly admitted, Trend Micro denies the remaining allegations of Paragraph 15.

       16.     Denied.

                                   NATURE OF THE CASE

       17.     To the extent that the allegations of Paragraph 17 set forth legal conclusions, no

response is required. Trend Micro admits the Complaint purports to set forth a patent

infringement action arising under the patent laws of the United States. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 17.

                                        THE PARTIES

       18.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 18, and therefore denies them.

       19.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 19, and therefore denies them.

       20.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 20, and therefore denies them.



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       21.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 21, and therefore denies them.

       22.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 22, and therefore denies them.

       23.     Trend Micro admits that it has a principal place of business at 225 East John

Carpenter Freeway Suite 1500, Irving, Texas 75062. Trend Micro admits that it maintains an

office at 11305 Alterra Parkway, Austin, Texas 78758. Trend Micro further admits that it is

registered with the Secretary of State to conduct business in Texas. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 23.

                                     JURISDICTION & VENUE

       24.     To the extent that the allegations of Paragraph 24 set forth legal conclusions, no

response is required. Trend Micro admits the Complaint purports to set forth a patent

infringement action arising under the patent laws of the United States. Trend Micro admits that

this Court has subject matter jurisdiction over actions arising under the patent laws of the United

States pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       25.    Trend Micro admits it has transacted business in the state of Texas and in this

District. Trend Micro, for purposes of this case only, will not challenge personal jurisdiction in

this Court. Trend Micro denies committing any acts of infringement. The remaining allegations

of Paragraph 25 regard jurisdiction, which is an issue of law for which no response is required.

To the extent a response is required, Trend Micro is without knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 25. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 25.

       26.     Trend Micro admits that it sells, directly or through its distribution network,




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products with the knowledge that those products will be sold and/or used nationwide, including

in the Western District of Texas. Trend Micro denies committing any acts of infringement.

Except as expressly admitted, Trend Micro denies the remaining allegations of Paragraph 26.

       27.      To the extent that the allegations of Paragraph 27 set forth legal conclusions, no

response is required. Trend Micro denies committing any acts of infringement. Trend Micro

admits that it did not dispute that this district is a proper forum for venue in the case Plaintiffs

cite, but only for purpose of that case. See, e.g., Answer ¶ 9, Invicta Networks, Inc. v. Trend

Micro Inc., No. 6:20-cv-00766-ADA, Dkt. 9 (W.D. Tex. Nov. 16, 2020) (“Defendant does not

contest that venue is proper under 28 U.S.C. §§ 1391 and 1400(b) solely for the purposes of

this action, but denies that venue in this District is convenient or in the interests of justice.”).

Trend Micro does not dispute venue solely for purposes of this litigation. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 27.

       28.      To the extent that the allegations of Paragraph 28 set forth legal conclusions, no

response is required. Defendant does not contest that it is subject to personal jurisdiction in this

District, solely for purposes of this action. Defendant admits that it conducts business in this

judicial district (“District”), but denies having committed any acts constituting patent

infringement and/or inducing and/or contributing to patent infringement in this District or any

District. Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 28.

       29.      To the extent that the allegations of Paragraph 29 set forth legal conclusions, no

response is required. Defendant does not contest that it is subject to personal jurisdiction in this

District, solely for purposes of this action. Defendant admits that it conducts business in this

District, but denies having committed any acts constituting patent infringement and/or inducing




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and/or contributing to patent infringement in this District or any District. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 29.

       30.     To the extent that the allegations of Paragraph 30 set forth legal conclusions, no

response is required. Defendant does not contest that it is subject to personal jurisdiction in this

District, solely for purposes of this action. Defendant admits that it conducts business in this

District, but denies having committed any acts constituting patent infringement and/or inducing

and/or contributing to patent infringement in this District or any District. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 30.

       31.     To the extent that the allegations of Paragraph 31 set forth legal conclusions, no

response is required. Defendant does not contest that it is subject to personal jurisdiction in this

District, solely for purposes of this action. Defendant admits that it conducts business in this

District, but denies having committed any acts constituting patent infringement and/or inducing

and/or contributing to patent infringement in this District or any District. Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 31.

       32.     Denied.

       33.     Denied.

       34.     Denied.

       35.     Denied.

       36.     Denied.

       37.     Denied.

       38.     Denied.

                       PLAINTIFFS’ PATENTED INNOVATIONS

       39.     Trend Micro lacks knowledge or information sufficient to form a belief as to the




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truth of the allegations of Paragraph 39, and therefore denies them.

       40.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 39, and therefore denies them.

                             Advanced Malware Detection Patents
                           U.S. Patent Nos. 8,418,250 and 8,726,389

       41.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 41, and therefore denies them.

       42.      Trend Micro admits what purports to be a copy of the ’250 Patent is attached as

Exhibit 1. Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 42.

       43.      Trend Micro admits what purports to be a copy of the ’389 Patent is attached as

Exhibit 2. Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 43.

       44.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 44, and therefore denies them.

       45.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 45, and therefore denies them.

       46.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 46, and therefore denies them.

       47.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 47, and therefore denies them.

       48.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 48, and therefore denies them.

       49.      Trend Micro lacks knowledge or information sufficient to form a belief as to the




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truth of the allegations of Paragraph 49, and therefore denies them.

       50.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 50, and therefore denies them.

       51.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 51, and therefore denies them.

       52.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 52, and therefore denies them.

       53.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 53, and therefore denies them.

       54.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 54, and therefore denies them.

       55.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 55, and therefore denies them.

       56.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 56, and therefore denies them.

       57.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 57, and therefore denies them.

       58.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 58, and therefore denies them.

       59.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 59, and therefore denies them.

       60.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 60, and therefore denies them.




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       61.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 61, and therefore denies them.

       62.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 62, and therefore denies them.

                                   Forensic Visibility Patents
                   U.S. Patent No. 9,578,045 and U.S. Patent No. 10,257,224

       63.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 63, and therefore denies them.

       64.      Trend Micro admits what purports to be a copy of the ’045 Patent is attached as

Exhibit 3. Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 42.

       65.      Trend Micro admits what purports to be a copy of the ’224 Patent is attached as

Exhibit 4. Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 42.

       66.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 66, and therefore denies them.

       67.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 67, and therefore denies them.

       68.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 68, and therefore denies them.

       69.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 69, and therefore denies them.

       70.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 70, and therefore denies them.




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       71.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 71, and therefore denies them.

       72.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 72, and therefore denies them.

       73.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 73, and therefore denies them.

       74.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 74, and therefore denies them.

       75.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 75, and therefore denies them.

       76.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 76, and therefore denies them.

                                   U.S. Patent No. 10,284,591

       77.      Trend Micro admits what purports to be a copy of the ’591 Patent is attached as

Exhibit 5. Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 42.

       78.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 78, and therefore denies them.

       79.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 79, and therefore denies them.

       80.      Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 80, and therefore denies them.

       81.      Trend Micro lacks knowledge or information sufficient to form a belief as to the




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truth of the allegations of Paragraph 81, and therefore denies them.

                                  U.S. Patent No. 10, 599,844

       82.     Trend Micro denies that a true and correct copy of the ’844 Patent is attached to

the Complaint as Exhibit 6. Exhibit 6 of the Complaint purports to be U.S. Patent No.

10,499,844, not U.S. Patent No. 10,599,844. Trend Micro lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations of Paragraph 82, and

therefore denies them.

       83.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 83, and therefore denies them.

       84.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 84, and therefore denies them.

       85.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 85, and therefore denies them.

       86.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 86, and therefore denies them.

       87.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 87, and therefore denies them.

       88.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 88, and therefore denies them.

       89.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 89, and therefore denies them.

       90.     Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 90, and therefore denies them.




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                                    ACCUSED PRODUCTS

        91.     Denied.

        92.     Trend Micro admits that it provides Apex One, Apex Central, Cloud One

Network Security, and Deep Discovery. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 92.

        93.     Denied.

        94.     Denied.

        95.     Denied.

        96.     Denied.

        97.     Denied.

        98.     Denied.

        99.     Denied.

                                  FIRST CAUSE OF ACTION
                           (INFRINGEMENT OF THE ’250 PATENT)

        100.    Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        101.    Denied.

        102.    Trend Micro admits what purports to be claim 1 of the ’250 Patent is recited in

Paragraph 102 of the Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 102.

        103.    Trend Micro admits that Paragraph 103 purports to include an image from a

document available on the webpage at https://www.trendmicro.com/en_us/business/products/user-

protection/sps/endpoint.html?utm_campaign=BaU2021_Endpoint-

Security_AoM&utm_medium=Search&utm_source=Google&utm_content=Apex-One-Case,             which




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states that “A range or layered detection capabilities, alongside investigation and response,

defends the endpoint through every stage.” Except as expressly admitted, Trend Micro denies

the remaining allegations of Paragraph 103.

        104.    Trend      Micro       admits        that    the      document        available      at

https://docs.trendmicro.com/all/ent/apex-one/patch/en-us/apexOne_p6_ag.pdf      states at page 9-22:

“Security Agents log unauthorized program access instances and send the logs to the server.”

Except as expressly admitted, Trend Micro denies the remaining allegations of Paragraph 104.

        105.    Denied.

        106.    Trend Micro admits that Paragraph 106 purports to include an image from a

document available on the webpage at https://www.trendmicro.com/en_us/business/products/user-

protection/sps/endpoint.html?modal=s3a-icon-datasheet-e4288a.       Except as expressly admitted,

Trend Micro denies the remaining allegations of Paragraph 106.

        107.    Denied.

        108.    Denied.

        109.    Denied.

        110.    Trend Micro admits that Paragraph 110 purports to include an image from a

document                available             on              the             webpage                at

https://www.trendmicro.com/en_us/business/capabilities/machine-learning.html,     which    states   that

“Trend Micro whitelisting technology works with machine learning to pro-actively identify good files to

reduce false positives.”   Except as expressly admitted, Trend Micro denies the remaining

allegations of Paragraph 110.

        111.    Denied.

        112.    Denied.

        113.    Trend      Micro       admits        that    the      document        available      at



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https://docs.trendmicro.com/all/ent/apex-one/patch/en-us/apexOne_p6_ag.pdf states at page 4-5: “By

continuously processing the threat intelligence gathered through its extensive global network of

customers and partners, Trend Micro delivers automatic, real-time protection against the latest

threats and provides ‘better together’ security, much like an automated neighborhood watch that

involves the community in the protection of others.” Except as expressly admitted, Trend Micro

denies the remaining allegations of Paragraph 113.

       114.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 114, and therefore denies them.

       115.    Trend Micro admits that it became aware of the ’250 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’250 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 115.

       116.    Denied.

       117.    Denied.

       118.    Denied.

       119.    Denied.

       120.    Denied.

       121.    Denied.

       122.    Denied.

       123.    Denied.

       124.    Denied.

       125.    Denied.

       126.    Denied.




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        127.    Trend Micro admits that it became aware of the ’250 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’250 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 127.

        128.    Denied.

                               SECOND CAUSE OF ACTION
                          (INFRINGEMENT OF THE ’389 PATENT)

        129.    Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        130.    Denied.

        131.    Trend Micro admits what purports to be claim 1 of the ’389 Patent is recited in

Paragraph 131 of the Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 131.

        132.    Trend      Micro       admits     that    the     document        available   at

https://help.deepsecurity.trendmicro.com/12_0/on-premise/Deep_Security_12.0_On-

Premise_Administration_Guide.pdf states at page 777: “To identify threats, the anti-malware

module checks files on the local hard drive against a comprehensive threat database. The anti-

malware module also checks files for certain characteristics, such as compression and known

exploit code.” Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 132.

        133.    Denied.

        134.    Trend Micro admits that Paragraph 134 purports to include an image from a

document available on the webpage at https://www.trendmicro.com/en_us/business/products/user-

protection/sps/endpoint.html?modal=s3a-icon-datasheet-e4288a.   Except as expressly admitted,




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Trend Micro denies the remaining allegations of Paragraph 134.

       135.    Denied.

       136.    Trend Micro admits that Paragraph 136 purports to include images from a

webpage at https://success.trendmicro.com/dcx/s/solution/000262137?language=en_US. Except as

expressly admitted, Trend Micro denies the remaining allegations of Paragraph 136.

       137.    Trend      Micro       admits      that     the     document       available      at

https://docs.trendmicro.com/all/ent/apex-one/patch/en-us/apexOne_p6_ag.pdf states at page 4-3:

“Smart Protection includes services that provide anti-malware signatures, web reputations, and

threat databases that are stored in-the-cloud.” Except as expressly admitted, Trend Micro denies

the remaining allegations of Paragraph 137.

       138.    Trend      Micro       admits      that     the     document       available      at

https://help.deepsecurity.trendmicro.com/12_0/on-premise/Deep_Security_12.0_On-

Premise_Administration_Guide.pdf states at page 997: “The log inspection feature in Deep

Security enables real-time analysis of third party log files. The log inspection rules and decoders

provide a framework to parse, analyze, rank and correlate events across a wide variety of

systems. As with intrusion prevention and integrity monitoring, log inspection content is

delivered in the form of rules included in a security update.” Except as expressly admitted,

Trend Micro denies the remaining allegations of Paragraph 138.

       139.    Denied.

       140.    Trend      Micro       admits      that     the     document       available      at

https://help.deepsecurity.trendmicro.com/12_0/on-premise/Deep_Security_12.0_On-

Premise_Administration_Guide.pdf states at page 814: “Deep Security Manager will be able to

retrieve the suspected object list from Trend Micro Apex Central, share it with protected

computers, and compare local objects against the Apex Central Suspicious Object List.” Except



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as expressly admitted, Trend Micro denies the remaining allegations of Paragraph 140.

       141.    Trend      Micro      admits      that    the      document        available    at

https://help.deepsecurity.trendmicro.com/12_0/on-premise/Deep_Security_12.0_On-

Premise_Administration_Guide.pdf states at page 814: “Deep Security Manager will be able to

retrieve the suspected object list from Trend Micro Apex Central, share it with protected

computers, and compare local objects against the Apex Central Suspicious Object List.” Trend

Micro further admits that the document states at page 777: “To identify threats, the anti-malware

module checks files on the local hard drive against a comprehensive threat database. The anti-

malware module also checks files for certain characteristics, such as compression and known

exploit code.” Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 141.

       142.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 142, and therefore denies them.

       143.    Trend Micro admits that became aware of the ’389 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’389 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 143.

       144.    Denied.

       145.    Denied.

       146.    Denied.

       147.    Denied.

       148.    Denied.

       149.    Denied.

       150.    Denied.



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        151.    Denied.

        152.    Denied.

        153.    Denied.

        154.    Denied.

        155.    Trend Micro admits that became aware of the ’389 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’389 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 155.

        156.    Denied.

                                THIRD CAUSE OF ACTION
                          (INFRINGEMENT OF THE ’045 PATENT)

        157.    Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        158.    Denied.

        159.    Trend Micro admits what purports to be claim 1 of the ’045 Patent is recited in

Paragraph 159 of the Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 159.

        160.    Denied.

        161.    Denied.

        162.    Denied.

        163.    Denied.

        164.    Denied.

        165.    Denied.

        166.    Denied.




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       167.    Denied.

       168.    Trend Micro admits that Paragraph 168 purports to include an image from a

webpage at https://www.trendmicro.com/en_in/what-is/xdr.html. Except as expressly admitted,

Trend Micro denies the remaining allegations of Paragraph 168.

       169.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 169, and therefore denies them.

       170.    Trend Micro admits that became aware of the ’045 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’045 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 170.

       171.    Denied.

       172.    Denied.

       173.    Denied.

       174.    Denied.

       175.    Denied.

       176.    Denied.

       177.    Denied.

       178.    Denied.

       179.    Denied.

       180.    Denied.

       181.    Denied.

       182.    Trend Micro admits that it became aware of the ’045 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’045 Patent at any time




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before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 182.

        183.    Denied.

                               FOURTH CAUSE OF ACTION
                          (INFRINGEMENT OF THE ’244 PATENT)

        184.    Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        185.    Denied.

        186.    Trend Micro admits what purports to be claim 1 of the ’244 Patent is recited in

Paragraph 186 of the Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 186.

        187.    Denied.

        188.    Denied.

        189.    Denied.

        190.    Denied.

        191.    Denied.

        192.    Denied.

        193.    Trend Micro admits that Paragraph 193 purports to include an image from a

webpage at https://www.trendmicro.com/en_in/what-is/xdr.html. Except as expressly admitted,

Trend Micro denies the remaining allegations of Paragraph 193.

        194.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 194, and therefore denies them.

        195.    Trend Micro admits that it became aware of the ’244 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’244 Patent at any time




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before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 195.

        196.    Denied.

        197.    Denied.

        198.    Denied.

        199.    Denied.

        200.    Denied.

        201.    Denied.

        202.    Denied.

        203.    Denied.

        204.    Denied.

        205.    Denied.

        206.    Denied.

        207.    Trend Micro admits that became aware of the ’244 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’244 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 207.

        208.    Denied.

                                FIFTH CAUSE OF ACTION
                          (INFRINGEMENT OF THE ’591 PATENT)

        209.    Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        210.    Denied.

        211.    Trend Micro admits what purports to be claim 1 of the ’591 Patent is recited in




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Paragraph 211 of the Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 211.

       212.    Denied.

       213.    Denied.

       214.    Trend Micro admits that Paragraph 212 purports to include an image from a

webpage at https://www.trendmicro.com/en_us/business/products/user-protection/sps/endpoint.html.

Except as expressly admitted, Trend Micro denies the remaining allegations of Paragraph 214.

       215.    Trend       Micro      admits       that     the     webpage        available     at

https://www.trendmicro.com/vinfo/us/security/news/security-technology/risks-under-the-radar-

understanding-fileless-threats states: “The Microsoft framework is also capable of accessing

application programming interfaces (APIs) that execute crucial system and application

functions.” Except as expressly admitted, Trend Micro denies the remaining allegations of

Paragraph 215.

       216.    Denied.

       217.    Trend       Micro      admits      that     the      document       available     at

https://docs.trendmicro.com/all/ent/apex-one/2019/en-us/apexOne_2019_ag.pdf states at page 1-2:

“Security Agent policies provide increased real-time protection against the latest fileless attack

methods through enhanced memory scanning for suspicious process behaviors. Security Agents

can terminate suspicious processes before any damage can be done.” Except as expressly

admitted, Trend Micro denies the remaining allegations of Paragraph 217.

       218.    Denied.

       219.    Denied.

       220.    Trend       Micro      admits       that     the     webpage        available     at

https://help.deepsecurity.trendmicro.com/20_0/on-premise/anti-malware-behavior-monitoring.html




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states: “Structured Exception Handling Overwrite Protection (SEHOP), and heap spray

prevention, Deep Security can determine whether a process has been compromised and then

terminate the process to prevent further infection.” Except as expressly admitted, Trend Micro

denies the remaining allegations of Paragraph 220.

       221.    Denied.

       222.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 222 and therefore denies them.

       223.    Trend Micro admits that it became aware of the ’591 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’591 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 223.

       224.    Denied.

       225.    Denied.

       226.    Denied.

       227.    Denied.

       228.    Denied.

       229.    Denied.

       230.    Denied.

       231.    Denied.

       232.    Denied.

       233.    Denied.

       234.    Denied.

       235.    Trend Micro admits that it became aware of the ’591 Patent after receiving




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Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’591 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 235.

        236.        Denied.

                                    SIXTH CAUSE OF ACTION
                              (INFRINGEMENT OF THE ’844 PATENT)

        237.        Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        238.        Denied.

        239.        Trend Micro admits what purports to be claim 1 of the ’844 Patent is recited in

Paragraph 239 of the Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 239.

        240.        Denied.

        241.        Trend Micro admits that the webpage available at https://docs.trendmicro.com/en-

us/enterprise/trend-micro-apex-one-2019-server-online-help/protecting-trend_cli/protecting-against-

u_001/predictive-machine-l.aspx states: “After detecting an unknown or low-prevalence file, the

Security Agent scans the file using the Advanced Threat Scan Engine (ATSE) to extract file

features and sends the report to the Predictive Machine Learning engine, hosted on the Trend

Micro Smart Protection Network.” Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 241.

        242.        Denied.

        243.        Trend Micro admits that Paragraph 243 purports to include an image from a

webpage        at    https://www.trendmicro.com/vinfo/mx/security/news/security-technology/faster-and-

more-accurate-malware-detection-through-predictive-machine-learning-correlating-static-and-




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behavioral-features. Except as expressly admitted, Trend Micro denies the remaining allegations

of Paragraph 243.

       244.    Denied.

       245.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 245 and therefore denies them.

       246.    Denied.

       247.    Denied.

       248.    Denied.

       249.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 249 and therefore denies them.

       250.    Trend Micro lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 250 and therefore denies them.

       251.    Trend Micro admits that it became aware of the ’844 Patent after receiving

Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’844 Patent at any time

before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

remaining allegations of Paragraph 251.

       252.    Denied.

       253.    Denied.

       254.    Denied.

       255.    Denied.

       256.    Denied.

       257.    Denied.

       258.    Denied.




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         259.    Denied.

         260.    Denied.

         261.    Denied.

         262.    Denied.

         263.    Trend Micro admits that it became aware of the ’844 Patent after receiving

 Plaintiffs’ Complaint. Trend Micro denies that it had knowledge of the ’844 Patent at any time

 before receiving Plaintiffs’ Complaint. Except as expressly admitted, Trend Micro denies the

 remaining allegations of Paragraph 263.

         264.    Denied.

                    RESPONSE TO PLAINTIFFS’ PRAYER FOR RELIEF

         To the extent a response is required, Trend Micro denies that Plaintiffs are entitled to

 any relief sought in its Prayer for Relief and denies that Plaintiffs are entitled to any relief

 whatsoever.

                        RESPONSE TO PLAINTIFFS’ JURY DEMAND

         To the extent a response is required Trend Micro admits that the Complaint contains a

 request for a jury trial.

                                 AFFIRMATIVE DEFENSES

       Without admitting or acknowledging that Trend Micro bears the burden of proof as to

any of them and reserving the right to amend its answer as additional information becomes

available, Trend Micro pleads the following defenses:

                                       FIRST DEFENSE
                                      (Non-Infringement)

         Trend Micro has not engaged in any acts that would constitute willful, direct or indirect

 infringement of any valid claim of any of the ’250 Patent, the ’389 Patent, the ’045 Patent,




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 the ’224 Patent, the ’591 Patent, or the ’844 Patent (collectively, the “Patents-in-Suit”) either

 literally or under the doctrine of equivalents.

                                       SECOND DEFENSE
                                          (Invalidity)

       The Patents-in-Suit are invalid because they do not satisfy the requirements of 35 U.S.C.

§ 100, et seq., including but not limited to, 35 U.S.C. §§ 101, 102, 103, 112 and/or 116.

                                     THIRD DEFENSE
                   (Prosecution History Estoppel / Prosecution Disclaimer)

       Plaintiffs’ claims are barred in whole or in part by the doctrines of prosecution history

estoppel and/or prosecution disclaimer.

                                       FOURTH DEFENSE
                                         (Ensnarement)

       Plaintiffs’ claims are barred or limited by the doctrine of ensnarement.


                                       FIFTH DEFENSE
                                    (Limitation on Damages)

       Plaintiffs’ right to seek damages, if any, is limited by 35 U.S.C. §§ 286, 287, and 288.


                                        SIXTH DEFENSE
                                          (Territoriality)

        To the extent Plaintiffs’ claims are directed to acts occurring outside the United States,

 those claims for relief are barred or limited by the doctrine of territoriality by 35 U.S.C. § 271

 et seq. including but not limited to § 271(a) and (c).

                                      SEVENTH DEFENSE
                                     (Failure to State a Claim)

        Plaintiffs have failed to state a claim upon which relief can be granted.




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                                       EIGHTH DEFENSE
                                        (Double Patenting)

         One or more of the asserted claims is invalid under the doctrine of statutory double

 patenting or the judicially–created doctrine of obviousness-type double patenting.

                                        NINTH DEFENSE
                                        (Lack of Standing)

         To the extent Plaintiffs lacks all substantive right to bring suit and to exclude others from

 practicing the claims of one or more the Patents-in-Suit, Plaintiffs’ claims are barred by a lack

 of standing.

                                        TENTH DEFENSE
                                        (Judicial Estoppel)

       Plaintiffs’ patent infringement claims are barred, in whole or in part, based on judicial

estoppel. The asserted claims of the Patents-in-Suit are invalid or unenforceable, and Trend

Micro has not infringed, and is not infringing, the asserted claims of the Patents-in-Suit at least

due in part to statements, representation, admissions, elections, positions, concessions, and

filings made by Plaintiffs in prior judicial or administrative proceedings.

                                   ELEVENTH DEFENSE
                           (Res Judicata and/or Collateral Estoppel)

       Plaintiffs’ claims, and issues relating to those claims, are barred, in whole or in part, as a

result of adjudications on the merits of other judicial or administrative proceedings involving the

Patents-in-Suit.

                                   TWELFTH DEFENSE
                        (Waiver, Unclean Hands, orEquitable Estoppel)

       Plaintiffs’ claims are barred, in whole or in part, under the doctrines of waiver, unclean

hands, and/or equitable estoppel.




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                                   THIRTEENTH DEFENSE
                               (License and/or Patent Exhaustion)

       Plaintiffs’ patent infringement claims are barred, in whole or in part, under the doctrines

of express license, implied license, and/or patent exhaustion.

                                   FOURTEENTH DEFENSE
                                     (Government Sales)

       Plaintiffs’ remedies are limited by 28 U.S.C. § 1498(a).

                                    FIFTEENTH DEFENSE
                                     (Misjoinder of Parties)

       Plaintiffs are misjoined in this action to the extent that they are seeking to enforce rights

that exist independent of one another and have no apparent link to one another, or to the extent

any of them lack standing to bring this suit.

                               RESERVATION OF DEFENSES

       Trend Micro reserves all affirmative defenses under Rule 8(c) of the Federal Rules of

Civil Procedure, the Patent Laws of the United States, and any other defenses, at law or in

equity, that may now exist or in the future be available based on discovery and future factual

investigation.

                                 DEMAND FOR JURY TRIAL

       Trend Micro demands a jury trial on all triable issues.




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                         TREND MICRO’S COUNTERCLAIMS

       1.      Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Trend Micro

counterclaims against Counter-Defendants Open Text, Inc. and Open Text Corporation (“Open

Text Corp.”) (hereinafter collectively as “Open Text”), and Webroot, Inc. (“Webroot”), Open

Text Corp. being joined pursuant to Rule 20(a)(2) of the Federal Rules of Civil Procedure,

asserting the following Counterclaims.

                                NATURE OF THE ACTION

       2.      Trend Micro is a leading cyber security software company that protects

businesses and individuals against various cyber threats. Trend Micro operates a portfolio of

products and services that allow people to use their computers, mobile phones, tablets, and

various other electronic devices to safely and securely. Trend Micro invented many innovative

products, including those that are cloud-based and utilize machine learning and artificial

intelligence technologies. Some of these innovative inventions include those covered by U.S.

Patent Nos. 8,838,992 and 8,051,487 (collectively, the “Trend Micro Patents-in-Suit”).

       3.      Trend Micro seeks to enjoin infringement and obtain damages resulting from

Counter-Defendants Webroot’s and Open Text’s unauthorized making, using, offering for sale,

and/or selling software and/or services, including related software and services, that implement

the patented technologies in the Trend Micro Patents-in-Suit.

                                           PARTIES

       4.      Trend Micro Inc. is a corporation organized and existing under the laws of the

State of California, with its principal place of business at 225 East John Carpenter Freeway,

Suite 1500 Irving, Texas 75062. Among other activities, it is in the business of providing cyber

security software to protect individuals and businesses against malware, spam, and other cyber




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threats. Trend Micro has customers throughout the United States, the State of Texas, and in this

district.

        5.     Webroot is a corporation organized and existing under the laws of Delaware,

with its principal place of business at 385 Interlocken Crescent Suite 800 Broomfield, CO

80021. Webroot practices and provides, contributes to practicing and providing, and induces

others to practice and provide methods and systems that infringe claims of each of Trend

Micro’s Patents-in-Suit.

        6.     Open Text, Inc. is a corporation organized and existing under the laws of

Delaware, with its principal place of business at Suites 301&302, 2440 Sand Hill Road, Menlo

Park, CA 94025. Open Text, Inc. practices and provides, contributes to practicing and providing,

and induces others to practice and provide methods and systems that infringe claims of each of

Trend Micro’s Patents-in-Suit.

        7.     Open Text Corp. is a corporation organized and existing under the laws of

Ontario, Canada, with its principal place of business at 275 Frank Tompa Dr. Waterloo ON,

N2L 0A1. Open Text Corp. practices and provides, contributes to practicing and providing, and

induces others to practice and provide methods and systems that infringe claims of each of Trend

Micro’s Patents-in-Suit.

                              JURISDICTION AND VENUE

        8.     Counter-Plaintiff Trend Micro’s counterclaim arises under Title 35 of the United

States Code. This Court has subject matter jurisdiction over Trend Micro’s patent infringement

claims pursuant to 28 U.S.C §§ 1331 and 1338.

        9.     This Court has personal jurisdiction over Open Text Inc. and Webroot, inter alia,

based on filing of the Complaint.




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       10.     This Court has personal jurisdiction over Open Text Corp., inter alia, because it

regularly conducts business in the State of Texas and in this District, including operating

systems, using software, providing services, and/or engaging in activities in Texas and in this

District that infringe one or more claims of the asserted Patents.

       11.     Counter-Defendant Open Text Corp. has, either directly and through its network

of partnerships, purposefully and voluntarily placed its infringing products and/or provided

services into the stream of commerce with the intention and expectation that they will be

purchased and used by customers in this District, as detailed below.

       12.     Open Text Corp. maintains three offices in the State of Texas, two of which are

located in this judicial district, including the Austin office and the San Antonio office. See Open

Text Corp. v. Alfresco Software, Ltd., No. 6:20-cv-00941, Dkt. No. 1 (Complaint) ¶ 9; see also

https://www.opentext.com/about/office-locations#austin-address.




       13.      Open Text Corp.’s Austin office includes employees in engineering, customer

support legal and compliance teams, IT, and corporate development, and it hosts one of Open

Text Corp.’s data centers. See Open Text Corp. v. Alfresco Software, Ltd., No. 6:20-cv-00941,

Dkt. No. 1 (Complaint) ¶ 9.

       14.     Open Text Corp.’s partners, including resellers, distributors, service providers,

support partners, and technology partners are located in this judicial district.               See



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https://www.opentext.com/products-and-solutions/partners-and-alliances/partner-directory.

        15.      In addition, OpenText Professional Services Agreement states that the agreement

is entered into by Open Text Corp. or one of its affiliates and its customers.                See

https://www.opentext.com/file_source/OpenText/en_US/PDF/opentext-psa-pdf.pdf.             Thus,

Open Text Corp. has entered into agreements with customers covering infringing products

and/or provided services in Texas and in this District.

        16.      Venue is proper in this District as to these Counterclaims against Webroot and

Open Text, Inc. pursuant to 28 U.S.C §§ 1391(a)-(c) and 1400(b) because, inter alia, Webroot

and Open Text, Inc. have submitted to the venue of this Court by filing its Complaint here.

        17.      Venue is proper in this District as to these Counterclaims against Open Text

Corp. pursuant to 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b) because Open Text

Corp. is a foreign corporation and may be sued in any district in the United States, including

this District.

                                    ACCUSED PRODUCTS

        18.      Webroot offers security software, systems, and services that implement Trend

Micro’s patented technologies, such as, but not limited to, Webroot SecureAnywhere Business

Endpoint Protection, Webroot SecureAnywhere Endpoint Protection, Webroot DNS Protection,

Webroot Wifi Security, and BrightCloud Threat Intelligence Services (“Webroot Accused

Products”).

        19.      Open Text offers information management software, systems, and services that

implement Trend Micro’s patented technologies, such as, but not limited to, OpenText

Enterprise & Content Management, OpenText Business Network, OpenText AI & Analytics,

OpenText Experience, OpenText Digital Process Automation, OpenText Discovery, and




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OpenText Security (“Open Text Accused Products”). See Open Text Corp. v. Alfresco Software,

Ltd., No. 6:20-cv-00941 (WDTX), Dkt. No. 1 (Complaint) ¶¶ 5-6; UnoWeb Virtual, LLC v.

Open Text Inc., No. 2:19-cv-8 (EDTX), Dkt. No. 19 (Answer) ¶ 13. As one example, Open Text

packages Webroot’s security services with its information management products, such as with

OpenText Security & Protection Cloud that lists Webroot as a product which it integrates with.

The following screenshot is taken from a marketing video on the OpenText Security &

Protection   Cloud     product    webpage       on      Open     Text’s     website,     found   at

https://www.opentext.com/products-and-solutions/products/opentext-cloud/opentext-security-

cloud, and shows that Webroot’s software, systems, and services are part of OpenText’s Security

& Protection Cloud.




       20.    The     following   screenshot    is    also   taken   from   the   same    webpage

(https://www.opentext.com/products-and-solutions/products/opentext-cloud/opentext-security-




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cloud). This screenshot further shows that the Endpoint and Network Security of the OpenText

Security & Protection Cloud comprises Webroot’s security software, systems, and services.




       21.     On information and belief, all of Open Text’s security products including, but

not limited to, Webroot products and Open Text Security, including OpenText EnCase, integrate

with the rest of Open Text’s product offerings. For example, Open Text states in its 2021 Annual

Report that “[s]ecurity is fundamentally built-in to all OpenText Information Management

software.”




(https://s23.q4cdn.com/197378439/files/doc_financials/2021/ar/OpenText-2021-Annual-

Report.pdf at pg. 8).

       22.     On information and belief, this “security” includes Webroot’s security software,

systems, and services. For example, Open Text uses Webroot’s security software, systems, and

services to provide security for its OpenText Experience Cloud.




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(https://www.opentext.com/products-and-solutions/products/digital-experience).

        23.    On information and belief, the security built-in to all OpenText Information

 Management software also includes OpenText’s own security software, such as OpenText

 Security Solutions.

        24.    Furthermore, Open Text’s security products, such as OpenText Security

 Solutions, are powered by BrightCloud Threat Intelligence, a Webroot product.




(https://www.brightcloud.com/);




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(https://www.brightcloud.com/land/2022-brightcloud-threat-report);




(https://security.opentext.com/solutions/managed-detection-and-response).

        25.    The evidence above is exemplary of the fact that Webroot’s security software,

 systems, and services and OpenText’s security software, systems, and services are integrated

 with each Open Text product.




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       26.     The Webroot Accused Products and Open Text Accused Products are

collectively the “Accused Products.”

                                   COUNTERCLAIM ONE

                    (INFRINGEMENT OF U.S. PATENT NO. 8,838,992)

       27.     Trend Micro re-alleges and incorporates by reference each allegation contained

in the preceding paragraphs of the Counterclaims.

       28.     Trend Micro is the lawful owner of all right, title, and interest in U.S. Patent No.

8,838,992 (the “’992 patent”), titled “Identification of normal scripts in computer systems,”

including the right to sue and to recover for any and all infringement thereof. The ’992 patent

was duly and legally issued on September 16, 2014 by the United States Patent and Trademark

Office. A true and accurate copy of the ’992 patent is attached hereto as Exhibit A.

       29.     The ’992 Patent is valid and enforceable.

       30.     The ’992 patent describes and claims inventive and patentable subject matter that

provide a technological solution to a problem rooted in computer technology, and significantly

improving on traditional methods of identifying malicious computer scripts.

       31.     Scripts, such as JavaScript, were commonly employed to enhance a user’s web

browsing experience. Websites would deliver these scripts with web pages to add functionality

and features. However, scripts can also be used to exploit web browser or plug-in vulnerabilities.

Thus, there was a need for techniques to combat malicious scripts.

       32.     Traditional anti-malware solutions analyzed all scripts performed on a computer

to determine whether they were malicious or not. This was computationally resource-intensive

because many of these scripts were encrypted so they had to be decrypted or emulated to

analyze. Emulating and decrypting scripts at this rate was inefficient because less than 0.1% of




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scripts received over the internet were actually malicious. But there was still a need to screen

scripts in order to guard against the occasional malicious script.

       33.     The ’992 patent improved on prior art anti-malware solutions by providing a

much more efficient solution to guard against malicious scripts. Instead of emulating and

decrypting every script run by a website, the patent claims an invention that determines whether

a script is either normal or potentially malicious using machine learning. By performing lexical

semantic analysis on scripts using a machine learning model, scripts could be identified as

normal or potentially malicious without having to decrypt or emulate the script, thereby

significantly reducing the amount of computational resources required to detect malicious

scripts. For example claim 1 recites:

      1. A computer-implemented method of identifying normal scripts, the method comprising:

               receiving a machine learning model and a feature set in a client computer, the
      machine learning model being trained using sample scripts that are known to be normal
      and sample scripts that are known to be potentially malicious and takes into account
      lexical and semantic characteristics of the sample scripts that are known to be normal and
      the sample scripts that are known to be potentially malicious;

               receiving a target script along with a web page in the client computer, the target
      script and the web page being received from a server computer over a computer network;
      extracting from the target script features that are included in the feature set;

              inputting the extracted features of the target script into the machine learning
      model to receive a classification of the target script from the machine learning model; and

               detecting that the target script is a normal script and not a potentially malicious
      script based on the classification of the target script.


       34.     Counter-Defendants Webroot and Open Text have infringed and continue to

infringe one or more claims of the ’992 patent, literally and/or under the doctrine of equivalents,

in violation of 35 U.S.C. § 271(a) at least by, without authority, making, using, offering to sell,

and/or selling within the United States the Accused Products.




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        35.     For example, Counter-Defendants Webroot and Open Text have directly

 infringed at least claim 1 through their use and operation of the Accused Products, including

 through the execution of software that has been designed and built by Open Text and Webroot

 to perform each of the steps of claim 1. On information and belief, Open Text and Webroot also

 perform the steps of claim 1 when testing the operation of the Accused Products. A non-limiting

 example of Open Text’s and Webroot's infringement of claim 1 is described below with respect

 to Webroot SecureAnywhere Business Endpoint Protection.

        36.     To the extent the preamble is limiting, Webroot and Open Text perform a

 computer-implemented method of identifying normal scripts. For example, Webroot

 SecureAnywhere Business Endpoint Protection is a computer service that integrates with

 BrightCloud Threat Intelligence Services, also run by Webroot and Open Text, to classify files

 and processes, including scripts, as good or bad.




https://www-cdn.webroot.com/2116/0987/5719/Webroot_Endpoint_Protection_DS_us.pdf

(“Business Endpoint Protection Datasheet”) at 2.

        37.     Furthermore, Webroot states that SecureAnywhere Business Endpoint Protection

 products uses a machine learning model that classifies various scripts as threats.




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https://www-cdn.webroot.com/1215/2510/8234/Machine-Learning-Webroot-Approach-

WP_US.pdf (“Webroot Machine Learning Whitepaper”) at 2;




Id. at 3;




Id. at 4.



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        38.     Webroot and Open Text perform the step of “receiving a machine learning model

 and a feature set in a client computer, the machine learning model being trained using sample

 scripts that are known to be normal and sample scripts that are known to be potentially

 malicious and takes into account lexical and semantic characteristics of the sample scripts that

 are known to be normal and the sample scripts that are known to be potentially malicious.” As

 explained above, Webroot SecureAnywhere Business Endpoint Protection integrates with

 BrightCloud Threat Intelligence. BrightCloud Threat Intelligence encompasses BrightCloud

 Streaming Malware Detection, which uses a machine learning model and feature set that is

 downloaded to a client computer.




https://www.brightcloud.com/faq.

        39.     BrightCloud Threat Intelligence trains machine learning models using training

 samples, including scripts, that are known to be benign (normal) and training samples, including




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 scripts, that are known to be potentially malicious. On information and belief, Webroot

 SecureAnywhere Business Endpoint Protection, which integrates with BrightCloud Threat

 Intelligence, utilizes BrightCloud Threat Intelligence’s trained machine learning model to detect

 potentially malicious scripts.




Webroot Machine Learning Whitepaper at 3;




id. at 4.

            40.   The BrightCloud Threat Intelligence machine learning model takes into account

 10 million characteristics of the training samples, which comprises “practically any information

 pertaining to” the sample. On information and belief, this includes lexical and semantic

 characteristics of the training sample scripts.




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https://www-

cdn.webroot.com/7616/4554/8137/BrightCloud_Threat_Intelligence_Services_DS_AMER_EN

.pdf.Webroot.

        41.     Webroot and Open Text perform the step of “receiving a target script along with

 a web page in the client computer, the target script and the web page being received from a

 server computer over a computer network.” For example, Webroot’s SecureAnywhere Business

 Endpoint Protection receives webpages that contain JavaScript from a server computer over a

 computer network.




“Webroot Machine Learning Whitepaper” at 2.

        42.     Further, BrightCloud Threat Intelligence’s Streaming Malware Detection

 analyzes files, such as a script and the webpage in which it is found, as they stream through the

 network perimeter.




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https://www-

cdn.webroot.com/1516/0987/5232/Webroot_BrightCloud_Streaming_Malware_Detection_DS.

pdf at 1.

            43.   Webroot and Open Text perform the step of “extracting from the target script

 features that are included in the feature set.” Webroot SecureAnywhere Business Endpoint

 Protection extracts features included in the feature set from internet objects such as scripts.




 Webroot Machine Learning Whitepaper at 2.

            44.   Webroot and Open Text perform the step of “inputting the extracted features of




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 the target script into the machine learning model to receive a classification of the target script

 from the machine learning model.” Webroot SecureAnywhere Business Endpoint Protection

 inputs the extracted features of the target script into the machine learning model to receive a

 classification of the target script from the machine learning model.




“Webroot Machine Learning Whitepaper” at 2;




 id.

         45.    Webroot and Open Text perform the step of “detecting that the target script is a

 normal script and not a potentially malicious script based on the classification of the target

 script.” Webroot SecureAnywhere Business Endpoint Protection detects whether the script is




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 normal or potentially malicious based on the classification.




Business Endpoint Protection Datasheet at 2;




id.;




Webroot Machine Learning Whitepaper at 2;




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id.

        46.     The above description is based on publicly available information and a

 reasonable investigation of the operation of the Accused Products. Trend Micro reserves the

 right to modify this description, including, for example, on the basis of information about the

 Accused Products that it obtains during discovery.

        47.     Counter-Defendants Open Text and Webroot became aware of the ‘992 patent at

 least as of the filing of Trend Micro’s Counterclaims on May 16, 2022.

        48.     To the extent the marking requirement applies with respect to the ’992 patent,

 Trend Micro has a practice of marking at least its product manuals with the patents that the

 product practices.

        49.     Counter-Defendants Open Text and Webroot and their partners, customers, and

 end users of its Accused Products and corresponding systems and services, directly infringe at

 least claim 1 of the ‘992 patent, literally or under the doctrine of equivalents, at least by using

 the Accused Products as described above. On information and belief, the infringing actions of




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Open Text’s and Webroot’s partners, customers, and end users of the Accused Products are

attributable to Open Text and Webroot. For example, Open Text and Webroot direct and control

their partners by contractual agreement to operate, or to provide Open Text and Webroot with

the means to operate (e.g., servers), or otherwise distribute the Accused Products in a manner

that infringes the ’992 patent. Open Text and Webroot further condition receipt of benefit of

the Accused Products upon use of the patented features, such as performing steps of the methods

claimed in the ’992 patent.

       50.     In addition to Counter-Defendants Open Text’s and Webroot’s and their

customers’ direct infringement, Open Text and Webroot have infringed and continue to infringe

the ‘992 patent indirectly, including by actively inducing others to directly infringe at least claim

1 of the ’992 patent in violation of 35 U.S.C. § 271(b).

       51.     For example, Open Text and Webroot encourage and induce customers to use

the Accused Products in a manner that infringes claim 1 of the ‘992 patent by at least offering

and providing software that performs a method that infringes claim 1 when installed and

operated by the customers, and by activities related to selling, marketing, advertising,

promotion, installation, support, and distribution of the Accused Products.

       52.     Open Text and Webroot encourage and induce third parties to use the Accused

Products in a manner that infringes the ’992 patent as described above , including through

advertising, marketing, customer support, user manuals, instructions, installation, and

distribution of the Accused Products in the United States. For example, Counter-Defendants’

customers and end users test and/or operate Webroot SecureAnywhere in the United States in

accordance with Counter-Defendants’ instructions contained in, for example, its user manuals,

thereby also performing the claimed methods and infringing the asserted claims of the ’992




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Patent reciting such operation. See Webroot Machine Learning Whitepaper; Business Endpoint

Protection Datasheet.

          53.   Moreover, Open Text and Webroot contribute to infringement of the ’992 patent

by, among other activities, making, using, offering for sale, selling within the United States,

and/or importing into the United States the Accused Products with knowledge that such

activities practice every element of one or more claims of the ’992 patent, or being willfully

blind to such activities practicing every element of one or more claims of the ’992 patent.

Counter-Defendants’ affirmative acts of making, offering for sale, selling, and/or importing into

the United States the Accused Products contribute to Counter-Defendants’ customers and end-

users infringing of the Accused Products. The infringing software components of the Accused

Products are specially designed in a way that infringes one or more claims of the ’992 patent

and can be used only in a manner that infringes the ’992 patent and thus have no substantial

non-infringing uses.

          54.   The above description regarding Counter-Defendants’ infringement of the ’992

patent is based on publicly available information and a reasonable investigation of the operation

of the Accused Products. Trend Micro reserves the right to modify this description, including,

for example, on the basis of information about the Accused Products that it obtains during

discovery.

          55.   Unless and until enjoined by this Court, Counter-Defendants will continue to

infringe the ’992 patent. Counter-Defendants Open Text’s and Webroot’s infringement is

causing and will continue to cause Trend Micro irreparable harm, for which there is no remedy

at law.

          56.   Under 35 U.S.C. § 283, Trend Micro is entitled to a preliminary and permanent




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injunction against further infringement of the ’992 patent.

        57.     Counter-Defendants’ infringement of the ’992 patent has been knowing and

willful since at least the filing of Trend Micro’s Counterclaims on May 16, 2022.

        58.     Trend Micro has suffered and continues to suffer damages, including lost profits,

as a result of Counter-Defendants Open Text’s and Webroot’s infringement of the ‘992 patent.

Under 35 U.S.C. § 284, Trend Micro is entitled to damages adequate to compensate it for

Counter-Defendants Open Text’s and Webroot’s infringement, in no event less than a

reasonable royalty for Counter-Defendants’ use of the inventions of the ’992 patent, together

with interest and costs as fixed by the Court.

                                    COUNTERCLAIM TWO

                    (INFRINGEMENT OF U.S. PATENT NO. 8,051,487)

        59.     Trend Micro incorporates by reference its responses contained in the foregoing

paragraphs, as if fully set forth herein.

        60.     Trend Micro is the lawful owner of all right, title, and interest in U.S. Patent No.

8,051,487 (the “’487 patent”), titled “Cascading security architecture,” including the right to sue

and to recover for any and all infringement thereof. The ’487 patent was duly and legally issued

on November 11, 2011 by the United States Patent and Trademark Office. A true and accurate

copy of the ’487 patent is attached hereto as Exhibit B.

        61.     The ’487 patent is valid and enforceable.

        62.     The ’487 patent describes and claims inventive and patentable subject matter that

provide a technological solution to a problem rooted in computer technology, and significantly

improves on traditional methods and apparatuses for managing enterprise documents with

sensitive information at an endpoint of a system.




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          63.   Documents containing highly sensitive information were traditionally stored in

an isolated and secured computer, accessible only to authorized personals who followed “a

secure administration procedure (or policy) to prevent unauthorized access.” ’487 patent at

1:62-67. However, “conventional isolation-type security techniques are not reliable, since the

access control relies upon people following the secure administration procedure,” and the

“administration procedure is difficult to manage with respect to education and enforcement of

such security policies, and also can be quite costly to implement and monitor.” ’487 patent at

2:5-10.     Various conventional approaches to prevent sensitive information leakage from

endpoints had their own limits, such as lack of “deep inspection of the document content,”

inability to “prevent sensitive information leakage caused by intentional scrambling of sensitive

documents,” “difficulty in maintaining and managing different users and their corresponding

privileges,” inability to “analyze encrypted network traffic,” and slow data transmission. ’487

patent at 2:11-47. The ’487 patent solves these limits by proposing a method for detecting and

tracking documents with sensitive information in the endpoints of a system or sensitive

documents being exported out of the endpoints of the system. ’487 patent at 2:56-43. By

detecting documents in motion and determining whether a document is sensitive based on its

content and user behavior, detection of a sensitive document is likely to be complete and

accurate. ’487 patent at 3:21-26. By analyzing user behavior based on activity-to-behavior

patterns, intentional data scrambling can be detected and an appropriate cause of action may be

taken relative to the detected document. ’487 patent at 3:26-29. Further, because most of the

document management is achieved in the endpoint, the system can prevent leakage of sensitive

information from the endpoint even when the endpoint is disconnected from the enterprise

network. ’487 patent at 3:30-34.




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       64.     For example, claim 1 of the ’487 patent recites:

      1. A method for managing documents with sensitive information at an
      endpoint of a system, the method comprising:

              identifying, by an agent configured as software elements
                      programmed to run on a computing device, a target
                      document and an associated current process activity,
                      wherein the associated current process activity comprises an
                      operation to be performed on the target document;

              determining, by the agent, whether the target document is an
                     outgoing document which is a document that is to be
                     exported out of the endpoint;

              if the target document is determined to not be an outgoing document,
                       then identifying, by the agent, a behavior applied to the
                       target document;

              determining, by the agent, whether the target document contains
                     sensitive information; and

              responsive to the target document containing the sensitive
                     information, the agent determining whether the current
                     process activity is to be blocked allowed or modified,

              wherein after the agent identifies the target document and the
                     associated current process activity, the agent holds the
                     current process activity, notifies a behavior analysis engine
                     of the target document and the current process activity, and
                     waits for a signal from the behavior analysis engine
                     indicating whether to continue with the current process
                     activity,

              wherein the agent raises an exception and stops the current process
                     activity if the agent is signaled by the behavior analysis
                     engine to block the current process activity, otherwise the
                     agent lets the current process activity to continue.

       65.     Counter-Defendant Open Text has infringed and continue to infringe one or more

claims of the ’487 patent, literally and/or under the doctrine of equivalents, in violation of 35

U.S.C. § 271(a) at least by, without authority, making, using, offering to sell, and/or selling

within the United States infringing products and services such as OpenText enterprise content

management solutions, including but not limited to, OpenText eDOCS and other products and



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solutions utilizing the OpenText eDOCS platform. (collectively, the “’487 Accused Products”).

       66.        For example, Counter-Defendant Open Text has directly infringed at least claim

1 of the ’487 patent through its use and operation of the ’487 Accused Products, including

through the execution of software that has been designed and built by Open Text to perform

each of the steps of claim 1. On information and belief, Open Text also performs the steps of

claim 1 when testing the operation of the ’487 Accused Products. A non-limiting example of

Open Text’s infringement of claim 1 is described below with respect to Open Text eDOCS.

       67.        To the extent the preamble is limiting, Open Text performs “a method for

managing documents with sensitive information at an endpoint of a system.” For example,

OpenText eDOCS provides a method for managing documents with sensitive information at an

endpoint of a system. Specifically, OpenText eDOCS uses eDOCS Defense, which is a

document security module for preventing the leak of sensitive information through an internal

security breach. See https://www.opentext.com/file_source/OpenText/en_US/PDF/opentext-

edocs-defense-data-sheet-en.pdf (“OpenText eDOCS Defense Data Sheet”) at 1 (“With eDOCS

Defense, organizations can send templated alerts before and after sensitive information has been

locked down, to further mitigate the risk and cost of a data breach, even safeguarding

information from authorized users. As alerts are flexible and configurable, they can be sent to

designated individuals at various stages of a potential breach, for example at 50 percent, 80

percent or 90 percent. These warnings can pre-empt a breach, lock out a user when they breach

a rule, limit damage and, with stored system logs, can help organizations easily meet required

regulations.”).

       68.        Open Text performs the step of “identifying, by an agent configured as software

elements programmed to run on a computing device, a target document and an associated




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 current process activity, wherein the associated current process activity comprises an operation

 to be performed on the target document.” For example, OpenText eDOCS identifies a target

 document and an associated current process activity that comprises an operation to be performed

 on a target document. As an example, the description below shows that OpenText eDOCS

 Defense monitors for actions performed on a target document, such as exporting, printing,

 downloading, and emailing. On information and belief, such monitoring process is performed

 by an agent configured as software elements programmed to run on a computing device.




See OpenText eDOCS Defense Data Sheet at 2.

        69.     Open Text performs the step of “determining, by the agent, whether the target

 document is an outgoing document which is a document that is to be exported out of the

 endpoint.” For example, OpenText eDOCS Defense determines by the agent whether the target

 document is an outgoing document which is a document that is to be exported out of the

 endpoint. As illustrated below, OpenText eDOCS Defense limits exporting.




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See OpenText eDOCS Defense Data Sheet at 2.

        70.     Open Text performs the step of “if the target document is determined to not be

 an outgoing document, then identifying, by the agent, a behavior applied to the target

 document.” For example, if the target document is determined not to be an outgoing document,

 OpenText eDOCS Defense identifies by the agent a behavior applied to the target document.

 As illustrated below, OpenText eDOCs Defense monitors user behavior against established

 thresholds.




See OpenText eDOCS Defense Data Sheet at 2.

        71.     Open Text performs the step of “determining, by the agent, whether the target

 document contains sensitive information.” For example, OpenText eDOCS determines whether

 a document contains sensitive information.           Specifically, OpenText eDOCS Defense

 specifically protects documents containing sensitive information.       See OpenText eDOCS

 Defense Data Sheet at 1 (“With eDOCS Defense, organizations can send templated alerts before

 and after sensitive information has been locked down, to further mitigate the risk and cost of a

 data breach, even safeguarding information from authorized users. As alerts are flexible and

 configurable, they can be sent to designated individuals at various stages of a potential breach,

 for example at 50 percent, 80 percent or 90 percent. These warnings can pre-empt a breach,

 lock out a user when they breach a rule, limit damage and, with stored system logs, can help

 organizations easily meet required regulations.”). On information and belief, OpenText eDOCS

 determines whether a document contains sensitive information in order to determine which



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 documents to protect against certain behaviors.

        72.     Open Text performs the step of “responsive to the target document containing

 the sensitive information, the agent determining whether the current process activity is to be

 blocked allowed or modified.”       For example, if the target document contains sensitive

 information, the OpenText eDOCS agent determines whether the current process activity is to

 be blocked, allowed, or modified.




See OpenText eDOCS Defense Data Sheet at 2.

        73.     Open Text performs the step of “wherein after the agent identifies the target

 document and the associated current process activity, the agent holds the current process

 activity, notifies a behavior analysis engine of the target document and the current process

 activity, and waits for a signal from the behavior analysis engine indicating whether to continue

 with the current process activity.” For example, as illustrated below, OpenText eDOCS Defense

 monitors user behavior against established thresholds, which on information and belief, is

 performed by a behavior analysis engine. The behavior analysis engine determines whether to

 continue with the current process activity depending on whether the user’s behavior exceeds an

 established threshold. Thus, on information and belief, OpenText eDOCs agent identifies the

 target document and the associated current process activity, holds the current process activity,




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 notifies a behavior analysis engine of the target document and the current process activity, and

 waits for a signal from the behavior analysis engine indicating whether to continue with the

 current process activity.




See OpenText eDOCS Defense Data Sheet at 2.

        74.     Open Text performs the step of “wherein the agent raises an exception and stops

 the current process activity if the agent is signaled by the behavior analysis engine to block the

 current process activity, otherwise the agent lets the current process activity to continue.” For

 example, as illustrated below, OpenText eDOCS Defense monitors user behavior against

 established thresholds, which on information and belief, is performed by a behavior analysis

 engine. The behavior analysis engine creates rules to monitor end user activity, configure real

 time alerts to monitor unusual activity and lock potential abusers out of the system. Thus, on

 information and belief, the OpenText eDOCS agent raises an exception and stops the current

 process activity if the agent is signaled by the behavior analysis engine to block the current

 process activity, and otherwise, the agent lets the current process activity to continue.




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       See OpenText eDOCS Defense Data Sheet at 2.

       75.     Open Text has had actual knowledge of the ’487 patent since at least the filing

of Trend Micro’s Counterclaims on May 16, 2022.

       76.     To the extent the marking requirement applies with respect to the ’487 patent,

Trend Micro has a practice of marking at least its product manuals with the patents that the

product practices.

       77.     Open Text and its partners, customers, and end users of its ’487 Accused

Products and corresponding systems and services, directly infringe at least claim 1 of the ‘487

patent, literally or under the doctrine of equivalents, at least by using the ’487 Accused Products

as described above. On information and belief, the infringing actions of Open Text’s partners,

customers, and end users of the ’487 Accused Products are attributable to Open Text. For

example, Open Text direct and control their partners by contractual agreement to operate, or to

provide Open Text with the means to operate (e.g., servers), or otherwise distribute the ’487

Accused Products in a manner that infringes the ’487 patent. Open Text further conditions

receipt of benefit of the ’487 Accused Products upon use of the patented features, such as

performing steps of the methods claimed in the ’487 patent.




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       78.     In addition to Counter-Defendant Open Text’s and its customers’ direct

infringement, Open Text has infringed and continues to infringe the ‘487 patent indirectly,

including by actively inducing others to directly infringe at least claim 1 of the ’487 patent in

violation of 35 U.S.C. § 271(b).

       79.     For example, Open Text encourages and induces customers to use the ’487

Accused Products in a manner that infringes claim 1 of the ‘487 patent by at least offering and

providing software that performs a method that infringes claim 1 when installed and operated

by the customers, and by activities related to selling, marketing, advertising, promotion,

installation, support, and distribution of the ’487 Accused Products.

       80.     Open Text encourages and induces third parties to use the ’487 Accused Products

in a manner that infringes the ’487 patent as described above, including through advertising,

marketing, customer support, user manuals, instructions, installation, and distribution of the

’487 Accused Products in the United States. For example, Open Text’s customers and end users

test and/or operate OpenText eDOCS in the United States in accordance with Open Text’s

instructions contained in, for example, its user manuals, thereby also performing the claimed

methods and infringing the asserted claims of the ’487 Patent reciting such operation. See

OpenText eDOCS Defense Data Sheet.

       81.     Moreover, Open Text contributes to infringement of the ’487 patent by, among

other activities, making, using, offering for sale, selling within the United States, and/or

importing into the United States the ’487 Accused Products with knowledge that such activities

practice every element of one or more claims of the ’487 patent, or being willfully blind to such

activities practicing every element of one or more claims of the ’487 patent. Open Text’s

affirmative acts of making, offering for sale, selling, and/or importing into the United States the




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’487 Accused Products contribute to Open Text’s customers and end-users infringing of the

’487 Accused Products. The infringing software components of the ’487 Accused Products are

specially designed in a way that infringes one or more claims of the ’487 patent and can be used

only in a manner that infringes the ’487 patent and thus have no substantial non-infringing uses.

       82.     The above description regarding Open Text’s infringement of the ’487 patent is

based on publicly available information and a reasonable investigation of the operation of the

’487 Accused Products. Trend Micro reserves the right to modify this description, including, for

example, on the basis of information about the ’487 Accused Products that it obtains during

discovery.

       83.     Unless and until enjoined by this Court, Open Text will continue to infringe the

’487 patent. Open Text’s infringement is causing and will continue to cause Trend Micro

irreparable harm, for which there is no remedy at law.

       84.     Under 35 U.S.C. § 283, Trend Micro is entitled to a preliminary and permanent

injunction against further infringement of the ’487 patent.

       85.     Open Text’s infringement of the ’487 patent has been knowing and willful since

at least the filing of Trend Micro’s Counterclaims on May 16, 2022.

       86.     Trend Micro has suffered and continues to suffer damages, including lost profits,

as a result of Open Text’s infringement of the ‘487 patent. Under 35 U.S.C. § 284, Trend Micro

is entitled to damages adequate to compensate it for Open Text’s infringement, in no event less

than a reasonable royalty for Open Text’s use of the inventions of the ’487 patent, together with

interest and costs as fixed by the Court.

                                       PRAYER FOR RELIEF

      WHEREFORE, Trend Micro seeks the following relief:




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       That Webroot and Open Text have directly infringed the Trend Micro Patents-in-Suit

under 35 U.S.C. § 271(a);

       That Webroot and Open Text are inducing infringement of the Trend Micro Patents-in-

Suit under 35 U.S.C. § 271(b);

       That Webroot and Open Text are contributory infringers of the Trend Micro Patents-in-

Suit under 35 U.S.C. § 271(c);

       That Webroot, Open Text, and any of its affiliates, subsidiaries, officers, directors,

employees, agents, representatives, licensees, successors, assigns, and all those acting for any of

them and/or any of their behalf, or acting in concert with any of them directly or indirectly, be

preliminarily and permanently enjoined from infringing, inducing others to infringe, or

contributing to others’ infringement of the Trend Micro Patents-in-Suit.

       That Webroot and Open Text be ordered to pay compensatory damages to Trend Micro,

together with pre-judgment interest post-judgment interest, and costs as allowed by law;

       That Webroot and Open Text be ordered to provide an accounting, including a post-

verdict and post-judgment accounting for any infringement not otherwise covered by a damages

award or the requested injunctive relief;

       That Webroot and Open Text be ordered to pay supplemental damages to Trend Micro,

including without limitation, interest;

       That the infringement by Webroot and Open Text be adjudged willful and that the

damages be increased under 35 U.S.C. § 284 to three times the amount found or measured;

       That the Court determine this is an exceptional case under 35 U.S.C. § 285 and an award

of attorneys’ fees and costs to Trend Micro is warranted in this action; and

       For any such other and further relief as the Court deems just and equitable.




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                                              JURY DEMAND

        In accordance with Rule 38 of the Federal Rules of Civil procedure, Trend Micro hereby

demands trial by jury on all issues triable to a jury in this action.


DATED: May 16, 2022                                  PAUL HASTINGS LLP



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                                                     Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 16, 2022, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system which will send notification of such filing via electronic

mail to all counsel of record.

                                               /s/ Yar R. Chaikovsky
                                              Yar R. Chaikovsky
